             Case 18-13243 Doc 2 Filed 12/06/18 Entered 12/06/18 11:33:14 Main Document Page 1 of 10
 Fill in this information to identify your case and this filing:

  Debtor 1                          Duc                                                     Tran
                                   First Name                   Middle Name                Last Name

  Debtor 2                          Lynn                                                    Mai
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Eastern District of Louisiana
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1      Debtors' principal residence; value                            What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
               decreasing
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building
              Street address, if available, or other
                                                                                                                                                           Creditors Who Have Claims Secured by Property.
              description
                                                                             ✔ Condominium or cooperative
                                                                             ❑                                                                           Current value of the            Current value of the
              3629 Ridgelake Dr. Unit 15                                     ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land                                                                                  $110,000.00                    $110,000.00
               Metairie, LA 70002                                            ❑ Investment property
              City                               State        ZIP Code       ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
              Jefferson
                                                                             ❑ Other                                                                     estate), if known.
              County                                                          Who has an interest in the property? Check one.
                                                                                                                                                           Fee Simple
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                            ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $110,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
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                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Dodge                     Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Ram                       ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2005                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   90000                                                                                                   entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $5,450.00                   $5,450.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Jeep                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Cherokee                  ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2019                      ✔ Debtor 1 and Debtor 2 only
                                                                             ❑                                                                             Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   7500                                                                                                    entire property?             portion you own?
            Approximate mileage:                                                                                                                                        $28,000.00                  $28,000.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜             $33,450.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                     Current value of the
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

 6. Household goods and furnishings
       Examples:       Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                Furniture, linens, appliances
                                                                                                                                                                                                      $2,000.00



Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
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 7. Electronics
       Examples:        Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                        electronic devices including cell phones, cameras, media players, games
       ✔ No
       ❑
       ❑ Yes. Describe........

 8.    Collectibles of value
       Examples:        Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                        stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:        Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                        carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                 2 basic bicycles                                                                                                                              $100.00



 10.    Firearms
        Examples:         Pistols, rifles, shotguns, ammunition, and related equipment
        ✔ No
        ❑
        ❑ Yes. Describe........

 11.    Clothes
        Examples:         Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 Basic clothing                                                                                                                                $200.00



 12.    Jewelry
        Examples:         Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 See Attached.
                                                                                                                                                                                               $100.00



 13.    Non-farm animals
        Examples:         Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                 1 dog, 1 cat                                                                                                                                     $0.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜          $2,400.00




Official Form 106A/B                                                                                        Schedule A/B: Property                                                           page 3
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                              First Name                         Middle Name                            Last Name




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ✔ No
       ❑
       ❑ Yes........................................................................................................................................................   Cash..............


 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                Capital One Checking xxxx0949                                                                                                         $4.48


 17.2. Checking account:                                Capital One xxxx0535                                                                                                                  $5.18


 17.3. Savings account:                                 Capital One xxxx9518                                                                                                                  $0.00


 17.4. Savings account:                                 Campus FCU xxxx4403                                                                                                                   $0.00


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:


 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:           Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................




Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                          page 4
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 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them...................

 21.   Retirement or pension accounts
       Examples:       Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each account
       ❑
           separately.
 Type of account:                    Institution name:

 Pension plan:                       State employee pension                                                                       unknown


 Additional account:                 403(b) state employee retirement                                                            $50,000.00

 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them....


Official Form 106A/B                                                              Schedule A/B: Property                                           page 5
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Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.


 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes.
       ❑         Give specific information about         | Earned income credit, if any                                           Federal:                              unknown
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:


 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                                                           Company name:                                           Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.    Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                              page 6
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 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                          $50,009.66



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 7
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 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
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 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                             $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                              $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                 $110,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $33,450.00


 57.   Part 3: Total personal and household items, line 15                                                                     $2,400.00


 58.   Part 4: Total financial assets, line 36                                                                               $50,009.66


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $85,859.66             Copy personal property total➜          +      $85,859.66




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                $195,859.66




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                page 9
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                                                    SCHEDULE A/B: PROPERTY
                                                          Continuation Page

 12. Jewelry
       Wedding bands                                                                                               $100.00
      Miscellaneous costume jewelry                                                                               unknown




Official Form 106A/B                                            Schedule A/B: Property
